Case 5

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23 OR|G|NAL GOV'T CODE § 6103

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IBARRA, JERRY GUTIERREZ,
vIRGINIA BUSBY NORMAN
§¢§%§ES, JASON CHIVAS and JEFF

     

 

       
 

UNITED STATES DISTRICT COURT
CENTRAL DISTRlCT OF CALIFORNIA, WESTERN DIVISION

EDDY SORIANO, etc., et al., CASE NO. 16~CV-00155»BRO (SPx)

Plaintiffs, PROPOSED ORDER GRANTING
OTION FO GOOD FAITH
VS. SETTLEMEN'I` AN]) RE UEST

FOR ORDER THAT AN CLAIMS

COUN'I`Y OF RIVERSIDE, BY TYLER JACKS()N FOR

et al., E UITABLE INDEMNITY OR

C NTRIBUTION ARE BARRED

Defendants. AS A MATTER OF LAW

 

 

TO ALL PARTIES HEREIN AND TO THEIR ATTORNEYS OF RECORD:

Defendants COUN'I`Y OF RIVERSIDE, STANLEY SNIFF, WILLIAMA DI
YORIO, .YULIO IBARRA, JERRY GUTIERREZ, VIRGINIA BUSBY, NORMAN
NANTES, .?ASON CHIVAS, JEFF PINON, and Defendants CITY OF
MURRIETA, OFFICER JEREMY MEADOWS, OFFICER H. ADAMS, OFFICER

482?-0859-4757.1
{PROPOSED] ORDER GRANTING MOTION FOR GODO FAITH SETTLEMENT

 

 

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ELLIOTT, OFFICER TOMPKINS, OFFICER MATTHEW MOZINGO and
OFFICER IRVING’s Joint Motion for Good Faith Settlement came on regularly for
hearing on , 2017, at 8:30 a.rn. in Courtroorn _ of the United
States District Court.

After full consideration of the papers fried in support of and in opposition to
Defendants’ Motion and hearing the argument of connsel, the Court rules as
foilows: Defendants’ Joint Motion is GRANTED.

The Court finds that the settfeinent entered into between Defendants
COUNTY OF RIVERSIDE, STANLEY SNIFF, WILLIAMA DI YORI'O, JULIO
IBARRA, }ERRY GUTIERREZ, VIRGINIA BUSBY, NORMAN NANTES,
JASON CHIVAS, JEFF PINON, and Defendants CITY OF MURRIETA,
OFFICER JEREMY MEADOWS, OFFICER H. ADAMS, OFFICER ELLIOTT,
OFFICER TOMPKINS, OFFICER MATTHEW MOZINGO and OFFICER
IRVING constitutes a good faith settlement With Pfaintiffs EDDY SOR_IANO, by
and through his Conservator, Sherly Tolentino; and MARlTES de GUZMAN.

Any claims by TYLER JACKSON for equitable indemnity or contribution

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against any defendant are barred as a matter of iaw.

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IT IS SO ORDERED, ADJUDGED, AND DECREED.
DATED: , 2017

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By:

 

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UNITED STATES DISTRICT JUDGE

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1 FEDERAL COUR'I` PROOF OF SERVICE
2 SORIANO vs COUNTY OF RIVERSIDE ~ Case No. 16-CV-00155-BRO (SPX)
3 STATE OF CALIFORNIA, COUNTY OF SAN BERNARDINO
4 At the time of service, I Was over 18 years of age and not a arty to _the action
My business address is 650 East Hospitality Lane, Suite 600, San ernardino, CA
5 92408. l arn employed in the office of a member of the bar of this Court at Whose
direction the service Was made.
6 On March , 2017, 1 served the followin document s): [PROPOSE])]
7 ORDER GRAN G MOTION FOR GODO F ITH SET LEMENT
8 , I.served the documents on the foiiowing erso,ns at the following addresses
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2 The documents were served by the following means:
3 133 (BY U.S. MAIL) I enclosed the documents in a sealed envelope or package
addressed to the persons at the addresses listed above and I deposited the
4 sealed envelope or package with the U.S. Postal Service, with the postage
fully prepaid
5 l declare under penait of perjury under e a : i the United States of
6 America and the State of Ca ifornia that the f rein ~ e a correct
7 Executed on March`)}w/, 2017, at San Bdi falit`c:§:€
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